8:07-cr-00071-LSC-SMB          Doc # 142   Filed: 08/13/07    Page 1 of 4 - Page ID # 484




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:07CR71
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )           TENTATIVE FINDINGS
                                             )
MARTIN CAMPOS-ALBARRAN,                      )
                                             )
             Defendant.                      )

      The Court has received the Presentence Investigation Report (“PSR”) and the

parties’ objections thereto (Filing Nos. 135, 136 & Addendum to PSR). See "Order on

Sentencing Schedule," ¶ 6. The Court advises the parties that these Tentative Findings

are issued with the understanding that, pursuant to United States v. Booker, 543 U.S. 220

(2005), the sentencing guidelines are advisory.

      Both parties object to the quantity of controlled substance attributable to the

Defendant in ¶ 31 and the base offense level 32. The plea agreement reached pursuant

to Federal Rule of Criminal Procedure 11(c)(1)(B) recommends a base offense level of 30.

The Court’s tentative findings are that, absent unusual circumstances, the plea agreement

should be upheld and the base offense level should be calculated as level 30.

      The Defendant also objects to ¶ 23, which relates to his objection to drug quantity.

This objection does not otherwise affect the sentencing guideline calculation, and the

objection is denied as moot.

      IT IS ORDERED:

      1.     The Court’s tentative findings are that the Defendant‘s objections (Filing No.

136, Addendum to PSR) to the PSR are granted in part and denied in part as follows:

             a.     the objection to ¶ 31 is granted;
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              b.         the objection to ¶ 23 is denied as moot;

       2.     The Court’s tentative findings are that the government’s objections (Filing No.

135) to the PSR are granted;

       3.     The parties are notified that my tentative findings are that the PSR is correct

in all other respects;

       4.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel

and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final;

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 13th day of August, 2007.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge




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UNITED STATES OF AMERICA,                    )               CASE NO. 8:07CR71
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8:07-cr-00071-LSC-SMB            Doc # 142    Filed: 08/13/07       Page 4 of 4 - Page ID # 487




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       2.     The Court’s tentative findings are that the government’s objections (Filing No.

135) to the PSR are granted;

       3.     The parties are notified that my tentative findings are that the PSR is correct

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                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge




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